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           EXHIBIT 4
      Case 1:24-cv-02099 Document 1-4 Filed 11/22/24 Page 2 of 3 PageID# 159




VIRGINIA:
                     IN THE CIRCUIT COURT OF FAIRFAX COUNTY

SURGE TRANSPORTATION, INC.                      )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )    Case No. CL-2023-0015318
                                                )
DIRECT CONNECT LOGISTIX, INC.                   )
                                                )
and                                             )
                                                )
MATTHEW R. MAY                                  )
                                                )
        Defendants.                             )
                                                )


             DEFENDANTS NOTICE OF REMOVAL TO FEDERAL COURT

TO THE CLERK AND THE HONORABLE JUDGES OF FAIRFAX CIRCUIT COUNTY

CIRCUIT COURT:

        PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants

Direct Connect Logistix (“Direct Connect”) and Matthew R. May have removed this action to the

United States District Court for the Eastern District of Virginia, Alexandria Division, upon the

filing of the Notice of Removal, a copy of which is attached hereto as Exhibit 1.

Dated: November 22, 2024                             Respectfully submitted,

                                                      /s/ Micah E. Ticatch
                                                     Micah E. Ticatch, Va. Bar No. 83351
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                                                     mticatch@islerdare.com

                                                     Counsel for Defendants Direct Connect
                                                     Logistix, Inc. and Matthew May
    Case 1:24-cv-02099 Document 1-4 Filed 11/22/24 Page 3 of 3 PageID# 160




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd of November, I will electronically file and will serve a

copy of the foregoing via electronic mail:

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                              Allison P. Klena, Esq. (VSB No. 96400)
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